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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

  VERONICA J. CRISOSTOMO aka
  VERONICA J. TAYLOR,                             Case No. 4:17-cv-00422-BLW

                                                  JUDGMENT
         Plaintiff,

            v.

  TARGET CORPORATION,

         Defendant.



       In accordance with the Memorandum Decision and Order entered concurrently

herewith,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Judgment be

entered in favor of Defendant, and that this case be dismissed in its entirety.



                                                  DATED: July 30, 2018


                                                  _________________________
                                                  B. Lynn Winmill
                                                  Chief U.S. District Court Judge
